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                                                                          6                               IN THE UNITED STATES DISTRICT COURT
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                                                                                                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   JOHN LARSON,                                              No. C 11-03093 WHA
                                                                         11
United States District Court




                                                                                             Plaintiff,
                               For the Northern District of California




                                                                         12     v.                                                      ORDER UPHOLDING
                                                                         13                                                             JEOPARDY ASSESSMENT
                                                                              UNITED STATES OF AMERICA,                                 AND JEOPARDY LEVY
                                                                         14                  Defendant.
                                                                         15                                              /

                                                                         16                                          INTRODUCTION
                                                                         17          In this tax action, plaintiff requests summary review of a jeopardy assessment and a
                                                                         18   jeopardy levy made by the Internal Revenue Service. For the reasons stated below, this order
                                                                         19   upholds the jeopardy assessment and the jeopardy levy.
                                                                         20                                            STATEMENT
                                                                         21          This summary review action arises in the wake of a tax-evasion prosecution said to be
                                                                         22   “the largest criminal tax case in American history.” United States v. Pfaff, 619 F.3d 172, 173
                                                                         23   (2d Cir. 2010). In approximately 2002, the Internal Revenue Service initiated an audit of plaintiff
                                                                         24   John Larson’s federal tax returns for the years 1998–2001 (Compl. ¶ 5). The civil audit
                                                                         25   proceedings were frozen in 2004 when a criminal investigation involving Mr. Larson’s tax history
                                                                         26   was opened (Terpack Decl. ¶ 12). The following year, Mr. Larson and eighteen others were
                                                                         27   charged with a tax-evasion conspiracy involving the promotion of three alleged tax-shelter
                                                                         28   schemes (Compl. ¶ 7). In December 2008, following a ten-week jury trial, Mr. Larson was
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                                                                          1   convicted of twelve counts of tax evasion for designing, implementing, and marketing fraudulent
                                                                          2   tax shelters (Compl. ¶ 8). Pfaff, 619 F.3d at 173–74. In April 2009, Mr. Larson was sentenced
                                                                          3   to 121 months of imprisonment and was fined six million dollars. Mr. Larson was immediately
                                                                          4   remanded into custody and remains incarcerated. He paid the fine in July 2009 (Compl. ¶ 10).
                                                                          5          The six-million-dollar fine was based in part on a finding made by the district court at the
                                                                          6   sentencing hearing that Mr. Larson had caused a “gross pecuniary loss” in excess of $100 million
                                                                          7   (Weaver Exh. C). Pfaff, 619 F.3d at 174. On appeal, the fine was vacated. The court of appeals
                                                                          8   held that the district court could rely only on facts found by the jury in order to increase a criminal
                                                                          9   fine beyond the statutory maximum. Here, the jury made no findings as to the pecuniary gain or
                                                                         10   loss caused by Mr. Larson’s conduct, and the statutory maximum absent such findings was three
                                                                         11   million dollars. Pfaff, 619 F.3d at 174–75. The issue of the fine was remanded to the United
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                                                                         12   States District Court for the Southern District of New York in August 2010 (Compl. ¶ 11–12).
                                                                         13   Pfaff, 619 F.3d at 176. The parties anticipate that the New York district court will issue
                                                                         14   Mr. Larson a refund of approximately three million dollars (Compl. ¶ 20; Resp. 6).
                                                                         15          Upon learning of the imminent refund, the IRS reinvigorated its civil pursuit of
                                                                         16   Mr. Larson (Resp. 6). On February 7, 2011, the IRS issued a notice of jeopardy assessment
                                                                         17   against Mr. Larson, assessing more than $20 million in taxes and interest owed for the years
                                                                         18   1998–2001 (Compl. Exh. 1). The following day, the IRS issued a notice of jeopardy levy in
                                                                         19   conjunction with the jeopardy assessment (Compl. Exh. 3). The IRS served the levy on the clerk
                                                                         20   of court for the New York district court where Mr. Larson was tried, seeking to intercept the
                                                                         21   expected three-million-dollar refund (Compl. ¶ 20).
                                                                         22          Mr. Larson timely protested the jeopardy assessment and jeopardy levy to the IRS
                                                                         23   (Compl. Exh. 4). After exhausting his administrative remedies, he timely filed this action for
                                                                         24   summary judicial review. Venue is proper here because Mr. Larson resided in this district at all
                                                                         25   relevant times (Compl. ¶ 3).
                                                                         26          Mr. Larson contends that neither the jeopardy assessment nor the jeopardy levy was
                                                                         27   reasonable under the circumstances, and that the amount of the assessment was not appropriate
                                                                         28   under the circumstances. The controlling statute mandates summary determination of these


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                                                                          1   questions on an expedited basis. 26 U.S.C. 7429(b)(3). Accordingly, this order follows
                                                                          2   consideration of the complaint and supporting documents, and an expedited response from
                                                                          3   the government.
                                                                          4                                               ANALYSIS
                                                                          5          Within twenty days after the filing of an action for summary judicial review, the district
                                                                          6   court must make the following determinations: (1) whether the making of the jeopardy
                                                                          7   assessment is reasonable under the circumstances; (2) whether the jeopardy levy is reasonable
                                                                          8   under the circumstances; and (3) whether the amount of the jeopardy assessment is appropriate
                                                                          9   under the circumstances. 26 U.S.C. 7429(b)(3).
                                                                         10          1.      REASONABLENESS OF ASSESSMENT AND LEVY.
                                                                         11          The government bears the burden of showing that a jeopardy assessment or a jeopardy
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                                                                         12   levy is reasonable under the circumstances. 26 U.S.C. 7429(g)(1). Here, the government has
                                                                         13   carried its burden.
                                                                         14          Tax assessments and levies typically must comply with notice procedures.
                                                                         15   26 U.S.C. 6213(a), 6331(d). Under certain circumstances, however, the notice requirements are
                                                                         16   suspended. If the IRS believes that the assessment or collection of a tax deficiency will be
                                                                         17   jeopardized by delay, then it shall immediately assess such deficiency. 26 U.S.C. 6861(a). If the
                                                                         18   IRS finds that the collection of a tax is in jeopardy, then a levy may be made without notice.
                                                                         19   26 U.S.C. 6331(d)(3).
                                                                         20          The Treasury Regulations set forth three conditions that would justify a determination that
                                                                         21   collection of a tax is in jeopardy:
                                                                         22                   (i) The taxpayer is or appears to be designing quickly to depart
                                                                                              from the United States or to conceal himself or herself.
                                                                         23
                                                                                              (ii) The taxpayer is or appears to be designing quickly to place his,
                                                                         24                   her, or its property beyond the reach of the Government either by
                                                                                              removing it from the United States, by concealing it, by dissipating
                                                                         25                   it, or by transferring it to other persons.
                                                                         26                   (iii) The taxpayer's financial solvency is or appears to be
                                                                                              imperiled.
                                                                         27
                                                                              26 C.F.R. 1.6851-1(a)(1) (emphasis added). Courts conducting summary review pursuant to
                                                                         28
                                                                              Section 7429 generally find jeopardy assessments and jeopardy levies to be reasonable if any

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                                                                          1   one of these conditions is present. McWilliams v. Comm’r of Internal Revenue,
                                                                          2   103 T.C. 416, 424 (1994).
                                                                          3          Here, the circumstances justified a determination that Mr. Larson appeared to be designing
                                                                          4   to place the expected three-million-dollar refund beyond the government’s reach. It bears
                                                                          5   repeating that Mr. Larson has been convicted of tax evasion. He made a profitable business out
                                                                          6   of designing, implementing, and marketing complex tax-evasion schemes, and he used foreign
                                                                          7   entities to shelter his profits. See Pfaff, 619 F.3d at 174. After the IRS examined and disallowed
                                                                          8   one of Mr. Larson’s tax-evasion strategies, Mr. Larson transferred millions of dollars to his trusts
                                                                          9   in the Bailiwick of Guernsey, where the money could not be reached by the United States
                                                                         10   government. The district judge who heard Mr. Larson’s criminal case found this transfer to be “a
                                                                         11   brazen act” justifying an increase in his sentence (Weaver Exh. C at 73:8–14). That judge also
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                                                                         12   found the trial evidence to show that Mr. Larson had continuing relationships with foreign
                                                                         13   nationals who helped him hide funds abroad (id. at 106:11–18). Mr. Larson recently admitted
                                                                         14   that he still owns foreign trusts (Hockett Decl. ¶ 8). In short, the record shows that Mr. Larson
                                                                         15   has the resources, the know-how, and the gall to continue hiding his money from the United
                                                                         16   States or placing it beyond the government’s reach. The determination by the IRS that Mr.
                                                                         17   Larson’s expected three-million-dollar refund might well disappear as soon as it is remitted to
                                                                         18   him was reasonable under these circumstances.
                                                                         19          The fact that Mr. Larson currently is incarcerated does not alter this analysis. Even from
                                                                         20   prison, he can communicate instructions to loyal confederates with control over his assets.
                                                                         21   Mr. Larson’s other arguments are unavailing as well. For example, he argues that “[t]he
                                                                         22   majority” of his dispute with the IRS relates only to “the appropriate timing for him to have
                                                                         23   reported certain income; not whether he failed to report the income at all” (Compl. ¶ 17). This
                                                                         24   argument candy-coats Mr. Larson’s crimes. Finagling the timing for recognizing gains so that
                                                                         25   they could be off-set by bogus losses was a key feature of his deliberate tax-evasion schemes.
                                                                         26   Similarly, Mr. Larson argues that the assessment “include[s] partnership adjustments that are
                                                                         27   currently (and appropriately) being litigated in the Court of Federal Claims” (ibid.). The
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                                                                          1   assessment and levy, however, do not impair his ability to challenge and resolve that portion of
                                                                          2   his tax liability through litigation.
                                                                          3           Mr. Larson also claims that he has been forthright with the government concerning his
                                                                          4   assets, supposedly having turned over a new leaf after he was caught (Compl. ¶ 29). The record
                                                                          5   contradicts this assertion. For example, his response to a document request issued by the IRS in
                                                                          6   conjunction with its continuing investigation is several months overdue (Banks Decl. ¶¶ 5–9).
                                                                          7   Similarly, during the administrative review of the jeopardy assessment and levy, he did not
                                                                          8   provide requested documentation regarding his assets within the reach of the United States
                                                                          9   government (Hockett Decl. ¶ 7; Hockett Exh. A). Mr. Larson’s net worth exceeded $21 million
                                                                         10   in January 2000, but only a small fraction of that wealth is accounted for in the present assets he
                                                                         11   has disclosed to the government (Terpack Exh. A; Resp. 16–17). In sum, this order finds that
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                                                                         12   the jeopardy assessment and the jeopardy levy were reasonable procedural measures under
                                                                         13   the circumstances.
                                                                         14           2.      APPROPRIATENESS OF AMOUNT.
                                                                         15           The taxpayer bears the burden of showing that the amount of a jeopardy assessment was
                                                                         16   not appropriate under the circumstances. 26 U.S.C. 7429(g)(2). Here, plaintiff-taxpayer has not
                                                                         17   carried his burden. The notice of deficiency provided to Mr. Larson set forth a detailed
                                                                         18   explanation of the amounts assessed against him, and he has not shown any of those amounts to
                                                                         19   be inaccurate or unsupported (Terpack Exh. B).
                                                                         20           First, Mr. Larson argues that the pendency of his lawsuits in the Court of Federal Claims
                                                                         21   renders some of the assessed adjustments “premature and inappropriate” (Compl. ¶ 32). He does
                                                                         22   not, however, cite any authority for this pronouncement. The relevant portion of his tax liability
                                                                         23   should be reduced only if and when he prevails in those challenges. Second, Mr. Larson
                                                                         24   emphasizes that many of the assessed adjustments relate to timing rather than a complete failure
                                                                         25   to report income (ibid.). As above, this argument misses the point. Third, Mr. Larson makes
                                                                         26   conclusory statements that the assessment includes “double taxation” and that the interest portion
                                                                         27   of the assessment is “demonstrably incorrect,” but he provides no documentation or analysis to
                                                                         28   support these claims. Fourth, Mr. Larson claims entitlement to an abatement of interest, but the


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                                                                          1   statute he cites does not apply to cases involving fraud. 26 U.S.C. 6404(g)(2)(b). All of
                                                                          2   Mr. Larson’s challenges fail. Accordingly, this order finds that the amount of the jeopardy
                                                                          3   assessment was appropriate under the circumstances.
                                                                          4                                            CONCLUSION
                                                                          5          For the foregoing reasons, this order finds that the jeopardy assessment and the jeopardy
                                                                          6   levy were reasonable under the circumstances, and that the amount of the assessment was
                                                                          7   appropriate under the circumstances. No abatement of the assessment or release of the levy is
                                                                          8   required. Judgment will be entered in favor of defendant and against plaintiff.
                                                                          9
                                                                         10          IT IS SO ORDERED.
                                                                         11
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                                                                         12   Dated: July 11, 2011.
                                                                                                                                  WILLIAM ALSUP
                                                                         13                                                       UNITED STATES DISTRICT JUDGE
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